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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


 Anthony Kramer, individually and on behalf
 of all others similarly situated,
                                                  Case No.: 0:17-CV-05001 (MJD/KMM)
               Plaintiff,

 v.                                                     NOTICE OF VOLUNTARY
                                                         DISMISSAL WITHOUT
 CenturyLink, Inc., CenturyTel Broadband                     PREJUDICE
 Services, LLC, CenturyLink
 Communications, LLC, CenturyLink Public
 Communications Inc., CenturyLink Sales
 Solutions, Inc., CenturyTel of Minnesota,
 Inc., PTI Communications of Minnesota,
 Inc., Embarq Minnesota Inc., Qwest
 Broadband Services, Inc., and Qwest
 Corporation.

               Defendants.



       PLEASE TAKE NOTICE THAT, pursuant to Fed. R. Civ. P. Rule 41(a)(1)(A)(i),

and Amended Case Management Order No. 3 (Dkt. No. 29), Plaintiff Anthony Kramer

by and through his undersigned counsel, hereby files this notice of voluntary dismissal in

the above-captioned action without prejudice. Defendants have not filed answers or

motions for summary judgment with respect to Plaintiffs’ complaint or the Consolidated

Class Action Complaint (“CCAC”) filed on February 15, 2018, in In Re: CenturyLink

Sales Practices and Securities Litigation, MDL No. 17-2795 (Dkt. No. 38).

       Plaintiff reserves the right to proceed in this MDL matter, as an absent class

member.
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Dated: May 23, 2018              Respectfully submitted,

                                 s/ Michelle J. Looby
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